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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:99-cr-00069-MP-AK

CHRISTIAN WESNER,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 249, Report and Recommendations of the

Magistrate Judge, recommending that defendant’s motion to vacate pursuant to

28 U.S.C. § 2255, Doc. 248, be denied. The Magistrate Judge filed the Report and

Recommendation on Wednesday, January 4, 2006. The parties have been furnished a copy of

the Report and Recommendation and have been afforded an opportunity to file objections. The

defendant has objected to the Magistrate's findings, Doc. 252. Pursuant to Title 28, United

States Code, Section 636(b)(1), this Court must make a de novo review of those portions to

which an objection has been made.

       In his complaint, defendant claims that he is entitled to relief from his sentence as a result

of the Supreme Court's holdings in Blakely and Booker. Doc. 248. However, as the Magistrate

correctly pointed out, the Eleventh Circuit has held that “Booker’s constitutional rule falls

squarely under the category of new rules of criminal procedure that do not apply retroactively to

§ 2255 cases on collateral review.” Varela v. United States, 400 F.3d 864, 868 (11th Cir. 2005);

see also In re Anderson, 396 F.3d 1336 (11th Cir. 2005). In his objections to the Magistrate's

report, the defendant argues that the precedent established by the Eleventh Circuit is incorrect.
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However, this court is bound to apply the precedent of the Circuit in which it sits. Thus, the

defendant has failed to present any evidence as to why this court should depart from the

Magistrate's recommendation. Therefore, having considered the Report and Recommendation

and objections thereto timely filed, I have determined that the Report and Recommendation

should be adopted. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       The Magistrate Judge's Report and Recommendation is adopted and incorporated
                 by reference in this order.

        2.       Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255, Doc. 248, is denied.

        DONE AND ORDERED this             31st day of January, 2006


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




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